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                Exhibit 2
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Table: DECENNIALPL2010.P2



                  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P2
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2010
DATASET:                      DECENNIALPL2010
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population
FTP URL:                      https://www2.census.gov/census_2010/redistricting_file‐‐pl_94‐171/

API URL:                      https://api.census.gov/data/2010/dec/pl

USER SELECTIONS
TABLES                        P2
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=P2:+HISPANIC+OR+LATINO,+AND+NOT+HISPANIC+OR+LATINO+BY+RACE&g=040XX00US48
                              &tid=DECENNIALPL2010.P2




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TABLE NOTES                   NOTE: Change to the
                              California,Connec cut,Mississippi,New Hampshire,Virginia, and
                              Washington P. L. 94‐171 Summary Files as delivered.

                              NOTE: For information on confidentiality protection, nonsampling error, and definitions, see
                              http://www.census.gov/prod/cen2010/pl94‐171.pdf
                              Source: U.S. Census Bureau, 2010 Census.

COLUMN NOTES                  None




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  Label                              Texas
Total:                             25,145,561 (r48514)
 Hispanic or Latino                9,460,921
 Not Hispanic or Latino:           15,684,640
   Population of one race:         15,365,082
     White alone                   11,397,345

    Black or African American alone 2,886,825
    American Indian and Alaska
    Native alone                    80,586
    Asian alone                     948,426
    Native Hawaiian and Other
    Pacific Islander alone          17,920
    Some Other Race alone           33,980
   Two or More Races:               319,558
    Population of two races:        299,548
      White; Black or African
      American                      88,914
      White; American Indian and
      Alaska Native                 69,937
      White; Asian                  79,530
      White; Native Hawaiian and
      Other Pacific Islander        5,245
      White; Some Other Race        9,691
      Black or African American;
      American Indian and Alaska
      Native                        11,894
      Black or African American;
      Asian                         10,007
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              2,089




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Table: DECENNIALPL2010.P2


  Label                               Texas
      Black or African American;
      Some Other Race                4,871
      American Indian and Alaska
      Native; Asian                  2,727
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         213
      American Indian and Alaska
      Native; Some Other Race        495
      Asian; Native Hawaiian and
      Other Pacific Islander         4,346
      Asian; Some Other Race         9,178
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           411
     Population of three races:      18,176
      White; Black or African
      American; American Indian
      and Alaska Native              8,029
      White; Black or African
      American; Asian                2,754
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     361
      White; Black or African
      American; Some Other Race      787
      White; American Indian and
      Alaska Native; Asian           1,431
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       239


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  Label                               Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           361
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       2,201
      White; Asian; Some Other
      Race                           610
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     68
      Black or African American;
      American Indian and Alaska
      Native; Asian                  310
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         97
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        153
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         330
      Black or African American;
      Asian; Some Other Race         230
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           62




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  Label                                  Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       48
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           27
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     9
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     69
     Population of four races:       1,497
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       688
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       75
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     250
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       153




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  Label                              Texas
      White; Black or African
      American; Asian; Some Other
      Race                         49
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              4
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     171
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   15
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    1
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander, Some Other Race    29
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     21
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         8




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Table: DECENNIALPL2010.P2


  Label                                  Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     9
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     22
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      2
     Population of five races:       312
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               262
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                26
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      4
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      6


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  Label                               Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      11
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      3
     Population of six races:        25
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           25




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